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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

vs.                                                        CASE NO: 21-cr-28(APM)

CONNIE MEGGS
                                /

                NOTICE OF ADOPTION OF CO-DEFENDANT’S MOTIONS

        COMES NOW the defendant, CONNIE MEGGS, through counsel, and files this Notice

Of Adoption of the following motions filed by co-defendants, pursuant to this Court’s instruction

at the July 2, 2021 status conference.

        1.       Motion to Dismiss Counts 1-4 and 12 of the Fourth Superseding Indictment, filed

                 by Kenneth Harrelson at Doc. 278;

        2.       Motion to Dismiss Counts 1-2 for Failure to State and Offense and For Vagueness

                 filed by Donovan Ray Crowl at Doc. 288

        3.       Motion to Change Venue filed by Thomas Caldwell at Doc. 273

        Ms. Meggs adopts and incorporates by reference the arguments and supporting case law

in the above motions.1 The facts alleged in Counts One through Four of the Fourth Superseding

Indictment are identically charged to Ms. Meggs. The legal analysis of the above motions will

apply equally to Ms. Meggs. Accordingly, Ms. Meggs files this Notice to

obtain the benefit of the court’s rulings without unduly burdening the court and record with

unnecessarily duplicative filings and pleadings.




1
 Ms. Meggs previously filed a motion to adopt Defendant Caldwell’s Motion to Dismiss Case at Doc. 240 (See
Doc. 262)
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       Pursuant to Fed. R. Crim. P. 12, Ms. Meggs reserves the right to supplement this motion to

adopt, or to file additional pre-trial motions on or before the September 2, 2021 deadline. See this

Court’s Order Scheduling deadline for Pretrial Motions. Doc. 289.



                                                               RESPECTFULLY SUBMITTED,

                                                               /s/ Mary K. Anderson
                                                               MARY K. ANDERSON
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           I HEREBY CERTIFY that on July 10th 2021 I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing

to counsel for the government.
